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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                   01/30/2025
                                                                       :
BLAKE LIVELY,                                                          :
                                                                       :
                                    Plaintiff,                         :             24-cv-10049
                                                                       :              25-cv-449
                  -v-                                                  :
                                                                       :              ORDER
WAYFARER STUDIOS LLC, JUSTIN BALDONI,                                  :
JAMEY HEATH, STEVE SAROWITZ, IT ENDS WITH :
US MOVIE LLC, MELISSA NATHAN, THE AGENCY :
GROUP PR LLC, JENNIFER ABEL,                                           :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X
                                                                       :
WAYFARER STUDIOS LLC, JUSTIN BALDONI,                                  :
JAMEY HEATH, IT ENDS WITH US MOVIE LLC,                                :
MELISSA NATHAN, and JENNIFER ABEL,                                     :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                        -v-                                            :
                                                                       :
BLAKE LIVELY, RYAN REYNOLDS, LESLIE                                    :
SLOANE, and VISION PR, INC.,                                           :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        The above-captioned cases involve common questions of law and fact. For convenience,

expedition, and judicial economy, and noting that no party has objected despite the opportunity

to do so, the Court exercises its discretion to consolidate these cases into a single action. See

Federal Rule of Civil Procedure 42(a)(2).

        The Clerk of Court is directed to consolidate all cases listed above under case number
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24-cv-10049, and to close all other cases. Counsel are directed to make filings only under

case number 24-cv-10049.

       SO ORDERED.

Dated: January 30, 2025                           __________________________________
       New York, New York                                    LEWIS J. LIMAN
                                                         United States District Judge




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